        1                                                        HONORABLE WHITMAN L. HOLT
        2      JAMES L. DAY (WSBA #20474)
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        3      BUSH KORNFELD LLP
               601 UNION STREET, SUITE 5000
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        8                           UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF WASHINGTON
        9
               In re
       10                                                  No. 20-01808
               KING MOUNTAIN TOBACCO
       11      COMPANY, INC.,                              DECLARATION OF PAUL M. LEVINE
                                                           IN SUPPORT OF DEBTOR’S MOTION
       12                                Debtor.           FOR RELIEF FROM STAY TO
                                                           PROCEED WITH LITIGATION IN
       13                                                  YAKIMA COUNTY SUPERIOR COURT
       14              PAUL M. LEVINE declares:
       15              1.   I am an attorney at Baker & Hostetler LLP (“BakerHostetler”), special
       16      counsel to the above-captioned debtor-in-possession (“Debtor” or “King Mountain”). I
       17      have personal knowledge of the facts set forth herein. I make this declaration in
       18      support of the Debtor’s Motion for Relief From Stay to Proceed with Litigation in
       19      Yakima County Superior Court (the “Motion”). Capitalized terms not defined herein
       20      shall have their meanings as ascribed in the Motion.
       21              2.   BakerHostetler has represented King Mountain in connection with the
       22      pending litigation against Kamiakin Wheeler, Kanim James, and Lone Warrior
       23      Holdings, Inc. (“Defendants”), filed in Yakima County Superior Court, Case No. 19-2-

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        1      04309-39, King Mountain Tobacco Company, Inc. v. Wheeler, et al. (the “Lawsuit”).
        2            3.     The Debtor has alleged Defendants committed numerous improprieties in
        3      connection with their employment at King Mountain, including theft of inventory,
        4      tortious interference with existing and prospective business opportunities, breach of
        5      contract, and breach of fiduciary duty. Attached hereto as Exhibit A is a true and
        6      correct copy of the Complaint filed in this matter.
        7            4.     Defendants Wheeler and James have actively defended the Lawsuit and
        8      asserted affirmative defenses and counterclaims against the Debtor and non-debtor
        9      parties, including breach of contract, failure to pay wages, and wrongful termination.
       10      Attached hereto as Exhibit B is a true and correct copy of the Defendants’ Answer and
       11      Affirmative Defenses and Defendants Kamiakin Wheeler and Kanim James’ Amended
       12      Counterclaim and Third Party Complaint. Attached hereto as Exhibit C is a true and
       13      correct copy of the Plaintiff’s Answer to Defendants’ Amended Counterclaims.
       14            5.     The parties engaged in a significant amount of research (both legal and
       15      factual) and discovery prior to the Debtor’s bankruptcy filing. The parties briefed
       16      motions to dismiss and discovery motions, propounded and responded to
       17      interrogatories and requests for production, produced over 60,000 pages of documents,
       18      served and received production in response to multiple subpoenas, and have set a
       19      schedule to try this case in October 2021 (approximately two years after filing).
       20            6.     The automatic stay should be lifted to allow the Debtor to defend against
       21      the Defendants’ counterclaims and prosecute to judgment its Lawsuit for damages. The
       22      Lawsuit involves exclusively questions of Washington law and venue is proper in the
       23      Yakima County Superior Court.

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        1            7.     Further, much of the litigation has already taken place in the Superior
        2      Court. The Lawsuit was filed in November 2019, and there has already been extensive
        3      discovery and motions. The Superior Court action was initially set for trial in October
        4      2021, after the parties underwent significant discussions to reach an agreed-upon
        5      schedule for discovery, summary judgment motions, and trial. In the interest of judicial
        6      economy this court should lift the stay and allow the Debtor to prosecute the Lawsuit.
        7            8.     The Debtor is confident in its claims against the Defendants and its ability
        8      to collect on a judgment or settlement. The benefit to the Debtor and the estate of
        9      proceeding with the Lawsuit greatly outweighs the risk involved in defending against
       10      the Defendants’ counterclaims.
       11            I declare under penalty of perjury that the foregoing is true and correct.
       12            SIGNED this 9th day of November, 2020, at Washington, DC.
       13
                                                             /s/ Paul M. Levine
       14                                                    Paul M. Levine
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